      Case 2:18-cv-00043-BCW Document 4-1 Filed 05/07/18 Page 1 of 1




                  Convention on th S rvic Abroad of Judlclal and Extrajudlclal Documents In
                 Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
             Corwonlion relativ        ala lgnificalion et ala notlfic=tlon al'eiranger d&S actes judiciaires ou extrajudiciairee en
                                     mallere civil ou commerclale, 11lgnee a La Haye le 15 novembre 1965.

    Identity and addr II of th applicant                                            Address of receiving authority°_ __
     ldenUto I adret§e du requerttnl                                                 Adresse de l'autorite destinataire                               l,
   Alan L. Sulivan                                                                  Central Aulhori1y
   Attorney at Law                                  ,                               The -       of !Aw and .......
   Gateway Tower West. 15 West Sooth Temple, Suke 1200                              -           of,._ All-
   Sal Lal<e City, UT 84101-1547, United States of America
   Talephone: 801.257.1900, Emait asulivan@swtaw.com
                                                                                    :::"0::,  43!1-A. 41t> '-A-Wing, Shastri Bhavan                   J
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                       ·  --- - ----~- ----.., _________                            110 001 lndla
                                                                                                                            - - - - - - - --·-·-
   The undersigned applicant h I th• honour to transmit - in duplicate - the documents listed
   bolow and, In conformity with Article 5 of th above-mentioned Convention, requests prompt
   urvlco of ono copy thoroof on the addre11eo, I.e.:
   l.o requ rant eoutel9ne a l'honneur de faire parwinir - n double exernplalre - a l'autorite destlnatalre les
   docum@nffl cl~111ou1 enumer611, on la orla11t, conformoment a l'artic1e 5 de la Convention precltee. d'en faire
   ,,met. r         no r.tard un exomplaire au de11ti11aualro, asavolr :




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     D         cJ

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   The authority 16 r qu atvd to ·return or to hav return d to the applicant a copy of the documents .
   ind of the annexes"' • with the attach d certificate.
   Cetto autorlte ett prit111 d r nvoyer ou d faire renvoy6r au requerant un exemplaire de I'acte - et de 11e11 annexes.. •
   av6c 1'11tte11tation cl-jointo.

   Ll•t of docum nt• I e,wmorstion CIJIJ pi6C/II

   1. COMPlAINT against Muladdat Burhanuddin Saifuddin filed by Syedna Taher Fakhruddin Saheb.
   2. Civil Cover Sheet
   3. Exhibit A -Articles of Incorporation of Oawat-E-Hadiyah (America), a Corporation Sole
   4 . Exhibit B - Reslaled Articles of lnoorporation of Dawm-c-Hadiyah (America), a Corporation Sole
   5. Exhibit C - Articles of Incorporation of Oawat-E-Hadiyah (Texas), a Corporation Sole
   6. Exhibit D - Affinnation of Investiture
   7. Exhibit E - Statement of Succession




                                                                                                                                               _-J
   8. Exhibit F - Amended and Restated Articles of Incorporation Dawal-E-Hadiyah (America)

     • Ir ;ipproprial@ / 1·11y , llt Y

    Done      at I Fait a
     Salt Lake City, Utah, USA
                                                  - ----~---- -        -1I          Signature and/or stam-p
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